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AZD PS 40 (AZD Rev. 10/12) Notice Regarding United States Passport for Criminal Defendant

 

UNITED STATES DISTRICT COURT

for the
District of Arizona

NOTICE REGARDING UNITED STATES PASSPORT FOR CRIMINAL DEFENDANT

TO: Office of Legal Affairs, Passport Services FROM: United States Pretrial Services
U.S. Department of State Sandra Day O’Connor Courthouse, Suite 260
CA/PPT/L/LA 401 W. Washington Street, SPC 8
44132 Mercure Circle Phoenix, Arizona 85003-2119
P.O. Box 1243 (602) 322-7350
Sterling, VA 20166-1243 Fax: (602) 322-7380

Original Notice

Date: December 12, 2022
By: VE

 

 

 

Defendant: _Kingsley Sebastian Ibhadore Case Number: 0970 2:22CR01392

 

 

Date of Birth: —————E—s Place of Birth: Nigeria

 

SSN: [i

 

Notice of Court Order (Order Date: December 8, 2022)

The above-named defendant is not permitted to apply for the issuance of a passport and/or passport card
during the pendency of this action.

 

NOTICE OF DISPOSITION
The above case has been disposed of.

C1 The above order of the court is no longer in effect.

Defendant not convicted — Document returned to defendant.

C]

[] Defendant not convicted - Document enclosed for further investigation due to evidence that
the document may have been issued in a false name.

C]

Defendant convicted - Document and copy of judgment enclosed.

 

Distribution:

Original to case file
Department of State
Defendant (or representative)
Clerk of Court

 
